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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  ELLIOTT G. NELSON,

             Petitioner,

  v.                                           Civil Action No. 5:07CV99
                                       (Criminal Action No. 5:05CR13-08)
  UNITED STATES OF AMERICA,                                      (STAMP)

             Respondent.


                        MEMORANDUM OPINION AND ORDER
                     AFFIRMING AND ADOPTING REPORT AND
                    RECOMMENDATION OF MAGISTRATE JUDGE

                                I.   Background

        The pro se1 petitioner, Elliott G. Nelson, entered a plea of

  guilty to one count of aiding and abetting the possession with

  intent to distribute cocaine base and cocaine, in violation of 21

  U.S.C. §§ 841(a)(1) and 841(b)(1)(B). The petitioner was sentenced

  to 60 months of imprisonment. Instead of pursuing a direct appeal,

  the petitioner filed a motion under 28 U.S.C. § 2255 to vacate, set

  aside, or correct sentence by a person in federal custody.

        Pursuant to 28 U.S.C. §§ 636(b)(1)(A) and (B) and Local Rule

  of Prisoner Litigation Procedure 83.09, et seq., this case was

  referred to United States Magistrate Judge James E. Seibert for an

  initial review and for a report and recommendation on disposition

  of this matter. Magistrate Judge Seibert issued a report and

  recommendation recommending that the petitioner’s § 2255 petition



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        “Pro se” describes a person who represents himself in a court
  proceedings without the assistance of a lawyer.        Black’s Law
  Dictionary 1341 (9th ed. 2009).
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  be denied and dismissed because it is untimely.                     The magistrate

  judge      advised   the        parties     that,     pursuant      to    28   U.S.C.

  § 636(b)(1)(C), any party may file written objections to his

  proposed findings and recommendations within ten days after being

  served with a copy of the magistrate judge’s recommendation.

  Neither party filed objections.              For the reasons set forth below,

  this     Court   finds    that    the     report    and    recommendation      of   the

  magistrate judge should be affirmed and adopted in its entirety.

                                  II.    Applicable Law

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo   review    of    any     portion    of    the   magistrate     judge’s

  recommendation to which objection is timely made.                        As to those

  portions of a recommendation to which no objection is made, a

  magistrate judge’s findings and recommendation will be upheld

  unless they are “clearly erroneous.”                See Webb v. Califano, 468 F.

  Supp. 825 (E.D. Cal. 1979).             Accordingly, because the parties have

  not      filed   objections,       this     Court    reviews      the    report     and

  recommendation of the magistrate judge for clear error.

                                    III.    Discussion

           The Anti-Terrorism and Effective Death Penalty Act (“AEDPA”)

  of 1996 established a one-year limitation period within which any

  federal habeas corpus motion must be filed.                     Specifically, AEDPA

  provides:

           The limitation period shall run from the latest of--

           (1) the date on which the judgment of conviction becomes
           final;

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        (2) the date on which the impediment to making a motion
        created by governmental action in violation of the
        Constitution or laws of the United States is removed, if
        the movant was prevented from making a motion by such
        governmental action;

        (3) the date on which the right asserted was initially
        recognized by the Supreme Court, if that right has been
        newly recognized by the Supreme Court and made
        retroactively applicable to cases on collateral review;
        or

        (4) the date on which the facts supporting the claim or
        claims presented could have been discovered through the
        exercise of due diligence.

  28 U.S.C. § 2255.

        Based on a review of the record and the applicable law,

  Magistrate Judge Seibert recommended that the petitioner’s § 2255

  petition be denied. Specifically, the magistrate judge applied the

  statute   of    limitations     to     the   present    case   and   found   the

  petitioner’s     federal      habeas    petition       untimely   because    the

  petitioner filed his federal habeas petition on August 6, 2007,

  almost eight months after the petitioner’s time to file a federal

  habeas petition expired on December 10, 2006.

        Because the parties have not objected to the report and

  recommendation of the magistrate judge, and because this Court

  finds that the magistrate judge’s recommendation is not clearly

  erroneous,     this   Court   concludes      that   the   magistrate    judge’s

  recommendations concerning the petitioner’s § 2255 petition should

  be affirmed and adopted.




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                               IV.    Conclusion

        For the reasons set forth above, the ruling of the magistrate

  judge is hereby AFFIRMED and ADOPTED in its entirety. Accordingly,

  the   petitioner’s    §   2255   petition   is   DENIED   as   untimely   and

  DISMISSED WITH PREJUDICE.        It is ORDERED that this civil action be

  DISMISSED and STRICKEN from the active docket of this Court.

        Moreover, this Court finds that the parties were properly

  advised by the magistrate judge that failure to timely object to

  the report and recommendation in this action will result in a

  waiver of appellate rights.        Thus, the parties’ failure to object

  to the magistrate judge’s proposed findings and recommendation bars

  the parties from appealing the judgment of this Court.               See 18

  U.S.C. § 636(b)(1); Wright v. Collins, 766 F.2d 841, 845 (4th Cir.

  1985); Thomas v. Arn, 474 U.S. 140 (1985).

        IT IS SO ORDERED.

        The Clerk is directed to transmit a copy of this memorandum

  opinion and order to the pro se petitioner by certified mail and to

  counsel of record herein.          Pursuant to Federal Rule of Civil

  Procedure 58, the Clerk is directed to enter judgment on this

  matter.

        DATED:     August 7, 2009



                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




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